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April 26, 2023

VIA ECF

The Hon. John M. Gallagher, U.S.D.J.
United States District Court for the Eastern District of Pennsylvania
Edward N. Cahn Courthouse & Federal Bldg.
504 W. Hamilton Street, Suite 4701
Allentown, PA 18101

          Re:        The Satanic Temple, Inc. v. Saucon Valley School District
                     Docket No. 5:23-cv-01244-JMG

Dear Judge Gallagher:

        Please be advised that consistent with Superintendent Jaime Vlasaty’s testimony at the
April 20, 2023 hearing, the Saucon Valley School Board approved revised versions of Policy
707, the Rules and Regulations that accompany Policy 707, and Policy 913. As the Board made
additional editorial changes to these documents at last night’s meeting, we have not yet received
the finalized copies of the revised policies and rules and regulations. We intend to file all three
documents with the Court as soon as we receive them, which we expect will be later this
morning.

          Thank you, again, for your continued attention to this matter.

Respectfully submitted,




Mark W. Fitzgerald

Cc:       All counsel of record (via ECF and electronic mail)
